             Case 2:16-cr-00199-JAM Document 59 Filed 02/15/18 Page 1 of 4


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 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA                      Case No.: 16-CR-0199 GEB
10
11
           vs.                                     STIPULATION AND PROPOSED
12                                                 ORDER CONTINUING THE STATUS
13                                                 CONFERNCE SET FOR FEBRUARY 16,
     KIONI M. DOGAN, et al.                        2018 TO May 4, 2018
14
15
16
17
18         IT IS HEREBY STIPULATED by and between the defendants, Kioni Dogan,

19   Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel,
20
     and the United States of America, by and through its counsel, Jared Dolan, Assistant
21
22   United States Attorney, that the status conference currently set for February 16, 2018

23   should be continued until May 4, 2018, and to exclude time between February 16, 2018
24
     and May 4, 2018, under Local Code T4.
25
26         The parties agree and stipulate, and request that the Court find the following:
27
                 1. An Order substituting attorney Hayes Gable III in place of attorney Bruce
28
                                            - 1Dogan
                    Locke as counsel for Kioni  -    was signed by the Court on February 12,
     Case 2:16-cr-00199-JAM Document 59 Filed 02/15/18 Page 2 of 4


 1       2018. The government has provided discovery associated with this case,
 2
         which is voluminous - i.e. approximately 14,000 pages, plus media
 3
         materials, to defense counsel.
 4
 5    2. Counsel for defendant Dogan thus requires adequate time to review
 6
         discovery and consult with client and conduct any necessary investigation
 7
 8       and research related to the charges, and to otherwise prepare for trial.

 9
      3. Given the volume of discovery, counsel for defendants Harris and Bailey
10
11       also require additional time to review the discovery in this matter, to

12       consult with client and conduct any necessary investigation and research
13
         related to the charges, and to otherwise prepare for trial.
14
15    4. Counsel for the government is unopposed.
16
      5. Counsel for defendants believes that failure to grant the above-requested
17
18       continuance would deny counsel the reasonable time necessary for effective

19       preparation, taking into account the exercise of due diligence.
20
21    6. The government and counsel for defendants Dogan and Bailey join in the

22       request for the continuance.
23
      7. Based on the above-stated findings, the ends of justice served by continuing
24
25       the case as requested outweigh the interest of the public and the defendant
26       in a trial within the original date prescribed by the Speedy Trial Act.
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             Case 2:16-cr-00199-JAM Document 59 Filed 02/15/18 Page 3 of 4


 1            8. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
 2
                 3161, et seq., within which trial must commence, the time period of
 3
                 February 16, 2018, to May 4, 2018, inclusive, is deemed excludable
 4
 5               pursuant to 18 U.S.C. section 3161(h)(7)(A), B(iv)[Local Code T4] because
 6               it results from a continuance granted by the Court at counsel’s request on
 7
                 the basis of the Court’s finding that the ends of justice served by taking
 8
 9               such action outweigh the interest of the public and the defendant in a
10               speedy trial.
11
12            9. Nothing in this stipulation and order shall preclude a finding that other

13               provisions of the Speedy Trial Act dictate that additional time periods are
14
                 excludable from the period within which a trial must commence.
15
16         IT IS SO STIPULATED.

17                      Respectfully submitted,
18
                                            STEVEN B. PLESSER
19
20
     Dated: February 14, 2018               /s/ Steven B. Plesser
21                                          STEVEN B. PLESSER
                                            Attorney for Gloria Harris
22
23   Dated: February 14, 2018               /s/ Steven B. Plesser for:
                                            For JARED DOLAN
24
                                            Assistant U.S. Attorney
25                                          Attorney for the United States
26   Dated: February 14, 2018               /s/ Steven B. Plesser
27                                          For Hayes Gable III
                                            Attorney for Kioni Dogan
28
                                          -3-
             Case 2:16-cr-00199-JAM Document 59 Filed 02/15/18 Page 4 of 4


 1   Dated: February 14, 2018           /s/ Steven B. Plesser
                                        For ROBERT WILSON
 2
                                        Attorney for Lavonda Bailey
 3
 4
 5
 6
                                FINDINGS and ORDER
 7
 8
 9
10         IT IS SO FOUND AND ORDERED.

11         Dated: February 15, 2018
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